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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLUMBIA
IN RE:

Walter Leroy Peacock , DEBTOR                     CASE NO. 16-00615-SMT

                                                  TRIAL DATE: March 8, 2018

Nancy Spencer Grigsby, TRUSTEE                    CHAPTER 13



                   MOTION FOR RELIEF FROM AUTOMATIC STAY
            Real Property at 2922 Pennsylvania Ave SE, Washington, D.C. 20020

       Comes now, HSBC Bank USA, National Association, as Trustee for Nomura Home
Equity Loan, Inc., Asset-Backed Certificates, Series 2006-FM2, Movant (Ocwen Loan Servicing
LLC, Servicer) herein, by Kyle J. Moulding, Esq., its attorney and respectfully represents:

       1. This Motion is filed pursuant to 11 U.S.C. Sec. 362 d thru f, and 28 U.S.C. Sec. 1334
and Sec. 157, giving this Court jurisdiction to grant relief from the Automatic Stay for cause
and/or to prevent irreparable damage to the interest of a secured creditor in the property of the
Debtor.

       2. Movant is the holder of a Note secured by a Deed of Trust dated May 9, 2006, and
recorded among the land records of District of Columbia, District of Columbia, at Instrument no.
2006071336 and which encumbers the property of the Debtor at 2922 Pennsylvania Ave SE,
Washington, D.C. 20020.

        3. The current amount due to the Movant is approximately $600,973.06, which includes:
a principal balance in the amount of $215,919.20; interest in the amount of $246,198.03 through
January 15, 2018; accumulated late charges in the amount of $6,809.33; an escrow deficit in the
amount of $110,030.16; property valuation expense in the amount of $935.00; trustee fee in the
amount of $225.00; FC thru title searches in the amount of $645.00; FC thru complaint in the
amount of $322.50; civil litigation in the amount of $2,350.00; additional/hourly/court
appearance in the amount of $750.00; statutory mailings in the amount of $3.17; court in the
amount of $69.95; filing notice of motion in the amount of $37.05; filing fee complaint in the
amount of $120.00; additional court filing costs in the amount of $164.65; lis pendens/NOPA in
the amount of $63.00; appt. of substitute trustee in the amount of $63.00; title report fee in the
amount of $740.00; property maintenance expense in the amount of $5,293.08; property
inspection fee in the amount of $490.75; adversary proceeding in the amount of $100.00;
certified mail cost in the amount of $26.12; objection to confirmation in the amount of $500.00;
statutory mailings in the amount of $16.84; tax certificate in the amount of $15.00; process in the
amount of $235.00; civil litigation fee in the amount of $875.00; collection cost and fees in the
amount of $2,985.00; court in the amount of $35.79; fee/ recording in the amount of $58.50;
miscellaneous (reo) in the amount of $50.00; notice of sale in the amount of $79.50; obtain court
docs/trustee rec in the amount of $42.00; property inspection in the amount of $375.50; property
preservation (reo) in the amount of $603.00; property valuations in the amount of $556.25;
publication in the amount of $2,600.05; service of process in the amount of $17.00; statutory
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mailings in the amount of $88.64; title reports in the amount of $155.00 and title searches in the
amount of $330.00.

        4. In addition to the other amounts due to Movant reflected in the Motion, as of the date
hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred
$850.00 in legal fees and $181.00 in costs. Movant reserves all rights to seek an award of
allowance of such fees and expenses in accordance with applicable loan documents and related
agreements, the Bankruptcy Code and other applicable law.

        5. The Debtor has failed to pay the payments for the months of December 2016 to
January 2018, so that the post-petition arrears are approximately $52,783.68, which include:
payments in the amounts of $4,211.76 for the months of December 2016 through September
2017 and $2,516.52 for the months of October 2017 through January 2018, Objection to Plan
filed fee in the amount of $500.00 and post-petition fee notice in the amount of $100.00. The
current monthly payment is $2,516.52.

       6. The Movant is inadequately protected by the Debtor's failure to make the pre-petition
and post-petition payments which may include an escrow for taxes and insurance.

       7. In his/her Schedules, the Debtor lists a current market value of $420,336.00 for the real
property. There is no equity in the real property above the secured debt and the real property has
no value to the bankruptcy estate.

        8. Ocwen Loan Servicing LLC services the underlying mortgage loan and note for the
property referenced in this Motion for HSBC Bank USA, National Association, as Trustee for
Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2006-FM2 (hereinafter,
“noteholder”) and is entitled to proceed accordingly. Should the Automatic Stay be lifted and/or
set aside by Order of this Court or if this case is dismissed or if the Debtor obtains a discharge
and a foreclosure action is commenced or recommenced, said foreclosure action will be
conducted in the name of the noteholder. The noteholder has the right to foreclose because
Noteholder is the original mortgagee or beneficiary or assignee of the security instrument for the
referenced loan. Noteholder directly or through an agent has possession of the promissory note
and the promissory note is either made payable to Noteholder or has been duly endorsed.

       9. Therefore, cause exists to grant relief from stay. Movant lacks adequate protection and
continues to be irreparably harmed by the continuation of the Stay of 11 U.S.C. Sections 362(a)
and 1301, if applicable.

               NOTICE OF INTENT TO SUBMIT BUSINESS RECORDS
        Creditor will submit business records as evidence at any scheduled hearing, as allowed
    under Fed. R. Bankr. P. 9017 and FRE 902(11). These business records are available for
                         inspection by the adverse party upon demand.

       WHEREFORE, the Movant prays this Honorable Court to issue an Order

        1.      Lifting the Automatic Stay as to the Debtor's property at 2922 Pennsylvania Ave
SE, Washington, D.C. 20020, so that the Movant can proceed with the foreclosure of its Deed of
Trust; or alternatively
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       2.      For such other and further relief as the Court deems appropriate.

                                              /s/ Kyle J. Moulding, Esq. (kmg)
                                              Kyle J. Moulding, Esq.
                                              Attorney for Movant
                                              Bar No. 1019518
                                              McCabe, Weisberg & Conway, LLC
                                              312 Marshall Avenue, Suite 800
                                              Laurel, MD 20707
                                              301-490-1196
                                              bankruptcymd@mwc-law.com


                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the Notice of Preliminary Hearing, Notice of Motion for Relief from
Stay, and the Motion for Relief from Stay with exhibits were mailed, first class, postage prepaid, on
February 2, 2018, to Walter Leroy Peacock, at 2922 Pennsylvania Avenue SE Washington, DC
20020, Cathy Braxton, Esq., Attorney for Debtors at Law Office of Cathy A. Braxton LLC
300 New Jersey Avenue, NW Suite 900 Washington, DC 20001 and Nancy Spencer Grigsby,
Trustee at 185 Admiral Cochrane Dr. Suite 240 Annapolis, MD 21401.



                                                      /s/Kyle J. Moulding, Esq.




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